                 Case 2:23-cv-04258-JTM-MBN Document 1-2 Filed 08/25/23 Page 1 of 42




                                                                                                                        A3M / ALL
                                                                                                     Transmittal Number: 27365709
Notice of Service of Process                                                                            Date Processed: 07/28/2023

Primary Contact:           Arnold D'Angelo
                           Zurich North America
                           1299 Zurich Way
                           Schaumburg, IL 60196-1056

Electronic copy provided to:                   Hank Russell

Entity:                                       Steadfast Insurance Company
                                              Entity ID Number 2746791
Entity Served:                                Steadfast Insurance Company
Title of Action:                              Spanish Villas LLC vs. Certain Underwriters At Lloyds London
Matter Name/ID:                               Spanish Villas LLC vs. Certain Underwriters At Lloyds London (14395200)
Document(s) Type:                             Citation/Petition
Nature of Action:                             Contract
Court/Agency:                                 Jefferson Parish District Court, LA
Case/Reference No:                            842638
Jurisdiction Served:                          Louisiana
Date Served on CSC:                           07/28/2023
Answer or Appearance Due:                     21 Days
Originally Served On:                         LA Secretary of State on 07/26/2023
How Served:                                   Certified Mail
Sender Information:                           Nicaud & Sunseri Law Firm, LLC
                                              504-837-1304
Notes:       The document matches the original document as received.

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
            Case 2:23-cv-04258-JTM-MBN Document 1-2 Filed 08/25/23 Page 2 of 42
                                                 State of Louisiana
                                                 Secretary. of State

                                                                                                Legal Services Section
                                                          07/27/2023                  P.O. Box 94125, Baton Rouge, LA 70804-9125
                                                                                                      (225)922-0415




 f STEADFAST INSURANCE COMPANY
   C/O CORPORATION SERVICE COMPANY
   501 LOUISIANA AVENUE
   BATON ROUGE, LA 70802-5921



  Suit No.: 842638
  24TH JUDICIAL DISTRICT COURT
  JEFFERSON PARISH

  SPANISH VILLAS, LLC, ET AL
  vs
  CERTAIN UNDERWRITERS AT LLOYD'S, LONDON, ET AL



  Dear Sir/Madam:

  I am enclosing a citation served in regard to the above entitled proceeding. If you are not the intended recipient of
  this document, please return it to the above address with a letter of explanation. AII other questions regarding this
  document should be addressed to the attorney that filed this proceeding.




                                                                                  Yours very truly,

                                                                                  R. KYLE ARDOIN
                                                                                  Secretary of State




Served on: R. KYLE ARDOIN                                           Date: 07/26/2023
Served by: J. SHOWS                                                 Title: DEPUTY SHERIFF



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               Case 2:23-cv-04258-JTM-MBN Document 1-2 Filed 08/25/23 Page 3 of 42
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   (101) CITATION: PETITION FOR DAMAGES; EXHIBIT- STANDING CASE
   MANAGEMENT ORDER/ EXHIBIT- ORDER FOR DISCOVERY
   PROTOCOLS/ EXHIBIT- INTERIM PROTECTIVE ORDER/ EXHIBIT-                                                230720-5524-9
   STANDING CASE MANAGEMENT ORDER-EXHIBIT A

                                                   24TH JUDICIAL DISTRICT COURT
                                                       PARISH OF JEFFERSON
                                                        STATE OF LOUISIANA

   SPANISH VILLAS LLC, ET AL
     versus                                                                           Case: 842-638 Div: "K"
   CERTAIN UNDERWRITERS AT LLOYDS LONDON, ET                                          P 1 SPANISH VILLAS LLC
   AL

   To: STEADFAST INSURANCE COMPANY
   THROUGH ITS REGISTERED AGENT FOR SERVICE
   OF PROCESS:                                                                        SOS CK #8245 $500.00
   LOUISIANA SECRETARY OF STATE                                                       EBR CK #§?4~ ,0640
   8585 ARCHIVES AVENUE                                                                     R_KYLE ARDorm
   BATON ROUGE LA 70809
                                                                                              JUL 2 06 2023
~ PARISH OF JEFFERSON                                                                    SECRETARY ®F STATF:
                                                                                         CCd"0WERC9AL Df196 v@ON
  You are hereby summoned to comply with the demand contained in the PETITION FOR
  DAMAGES of which a true and correct copy accompanies this citation, or make an
  appearance either by filing a pleading or otherwise, in the 24th Judicial District Court in and for
  the Parish of Jefferson, State of Louisiana, within TWENTY-ONE (21) CALENDAR days after
  the service hereof, under penalty of default.


  This service was requested by attorney J DOUGLAS SUNSERI and was issued by the Clerk of
  Court on the 20th day of July, 2023.


                                                        /s/ Karen F Mcevers
                                                        Karen F Mcevers, Deputy Clerk of Court for
                                                        Jon A. Gegenheimer, Clerk of Court



                                                        SERVICE INFORMATION

   (101) CITATION: PETITION FOR DAMAGES; EXHIBIT- STANDING CASE
   MANAGEMENT ORDER/ EXHIBIT- ORDER FOR DISCOVERY
   PROTOCOLS/ EXHIBIT- INTERIM PROTECTIVE ORDER/ EXHIBIT-                                                230720-5524-9
   STANDING CASE MANAGEMENT ORDER-EXHIBIT A

  Received:                  Served:                      Returned:

  Service was made:
           _   Personal                        _   Domicilary

  Unable to serve:
            _   Not at this address                Numerous attempts          times
            _   Vacant                             Received too late to serve
            _   Moved                              No longer works at this address
            _   No such address                    Need apartment / building number
                  Other

  Service: $                    Mileage: $                       Total: $

  Completed by:                                                             #
                              Depuly Sheriff
  Parish of:




                                  Thomas F. Donelon Courthouse : 200 Derbigny St. : Gretna tA 70053
  Page 1 of 1
                    Case 2:23-cv-04258-JTM-MBN Document 1-2 Filed 08/25/23 Page 4 of 42

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                                 24TxJUDICIAL DISTRICT COURT FOR THE PARISII OF'JEFFERSON

                                                             STATE :OF LOlTSIANA.

                         L4Q.          2   t                 HtJP.IBICANE IDA C14.SE                     DI'VXSIOI\

                                                          -SPANISAY-TLLA.S-,.LLC, et 41
                                                                       VERSUS

                                           CERTAIN-~'DER'VYRTERS. AT'Lh:OYD.':5:; LOND.ON, et aI'
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                         FILED::                                                  DPTY CLK '                                      Cf)
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                                                           PETITIOX `FO.R.DAIVIAGES

                                I\Y.OW `11~4T0 COTJRT, through undersigned counsel, comes Plaintiffs, Spanish. ViIla,

                         LLC, .Ft ench ViIlage, LL-C; Tlie Dorian LLC, Super Awas, LLC, Le Jardin, LLC, Ye .Olde

                         Rivers:,.LLC, A.liita Gardens Apts. (liereinafter sornetimes colleciively r.eferred to as "Plaintiff'

                         or "Ins.ur"eds"), all.Louisia:na.Limite&Liabil'ity Coinpanies, autliorized fo do:and presently doing

                         business in the Parish of'Orleans, State of Louisiana, and with respect represents-.the following:

                                                                            1.

                                Made Defendant herein, .Cer.tain Und~erwriters at'Lloyd'~s, London, a foreign insurance.

                         coriipany authorizeii. and presently doing business in the Parish of Orleans,..State of Louisiana, and

                         at all:material tiines was;the corninercial.insurance;ca.rrier foi• the comtnercial propertyreferenced

                         in Paragraph.'9, under. Policy/Certifrcate No. AIvIR-57715-04:

                                                                           Pi
                                Made Defendant herein, Indian Harbor Insurance Company, a foreign insurance

                         companyauthorized arid.preseptly doing tiusiness in the Parish of Orleans, State of Louisiana, and

                         at all -rriaterial -tiines was -the -eorrciinercial insurance carrier for tlie commercial property(s)

                         referericed in Parabaph 12, urider Policy/Certificate No. AIvIP75,32045=0.4..

                                                                           3.

                                1Vlade Defendant llerein,. QBE Specialty .Insurance Company, a foreign insurance

                         company authorized arid -pr.esently doi:ng business in the Parlsh;of'Orleans, State cif Louisiana arid




                                                                 HUMC/IlNt j2)fl-C:/l.s—r•

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                       at all material times ~%,as the conunercial insurance carrier for the con-Lniercial prop:;rty- is

                       referenced in Paragraph 12, ttnder Policy/Certificate No. VI5P2399S-04.

                                                                         4.

                                 Made Defendant herein, Steadfast Insur•ance Company, a for:,ign insurance compan-v

                       authoi-ized and presently doing busincss in the Parish of Orleans, State of Loui-siana, and at all

                       matezial times was the conunercial insttrance calTier fot• the com.t;iercial property(s) re:Cerenc.ed in

                       Paraaraph 12, under PolicyiCertificate No. CPPS980545-04

                                                                         :5.

                                 Made Defendant herein, General Secux•ity Tndemnity Company of Arizona. a foreign
                                                                                                                                   rr
                                                                                                                                   w
                       insurance company autliorized and presently doing business in the Parish of Orleans. State of               ?
                                                                                                                                   rn
                       Louisiana, and at a.11 nnaterial tiines was the cornrnercial insuraiice carrier for the commercial          v)

                       property(s) referenced in Paxagraph 12, under Policy!Certifrcate No. l OT0296-5 9-07594-21-04

                                                                         6.

                                  Nlade Defendant herein, L'nited Specialty Tnsurance Corripany, a forei<Jn insurance

                       cotnpany authorized and preseaztly doina business in the Parish o"i Orl'::ans. State oi'Louisiana. and

                       at all material times vvas the con.rrnercial insurance carrier for the comniercial propeity(s)

                       referenced in Paragraph 12. under Policy/Certificate .\ o. liSl-20585-04.

                                                                         7.

                                 Ulade .Defendant lierein. Lexington Insurance Coznpany, a foreign insurance company

                       authorized and presentl}l doinc, business in the Parish of Orleans, State of Louisiana, and at •all

                       material times was the commercial insurance cai-rier for the comniercial property(s) refere.nced in

                       Paragraph 12, underPolicy.-Certificatelo. LEX-U147102~1-04.

                                                                         s.

                                 Ivlade Defendant herein, I-IDI C:lobal Specialtti• SE, a foreign insurancc company

                       authorized and presently doing busuiess in the Parish of Orleans. Stat;, of Louisiana, and at all

                       material. times was the comnlercial insurance cat-rier for the c.ornmercial propertyf s) is referenced

                       in Paragraph 12, undcr PolicyiCertificate No. I-IAN-17517-04.

                                                                         9.

                                 Nlade Defendant herein, Old Republic lnsurance Compan.y, a fo.reign insurance

                       company authorized and presently doing business in the Parish of Orleans, Statc. of Louisiana, and

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                  at all material times vvas the coinmerc.ial instll•aiice canier for the commercial property(s)

                   referenced in Paraaraph 12. under Policy/'Certi{"lcate No. OR.'1ME'ROOJ45''-03.

                                                                      10.


                             -\-1ade Defendant herein, GeoVera Specialty Insurance Conlpany, a foreign insuratice

                     compan;r authorized and presentty doing business in the Parish o: Orleans, State of L.ouisiana, and

                     at all material tirries was tlle comznercial insurance carrier for the coi:amercial property(s;

                     referenced in ParacTraph 12, underPolicy'Certii:icatc \o. GLS-101.66-00.

                                                                      H.
                             The insurarice companies referenced in Paragraphs 1-10, shall be collectively referred to
                                                                                                                                    rr
                                                                                                                                    w
                     as "Defendant Insurers". Said Defendant Itisurers provided insuranc.e coverage for Buildin~                    z
                                                                                                                                    ~
                                                                                                                                    ~
                     Coveraae, Business Loss (loss of rents), Eatra Expenses, Ordinance of La~~~, Platits, La~~•ns, Trees,          cn

                     Shrubs, Service Interruption, and otlier named secondary covcrages.

                                                                      12.


                             The DeCendant Insurers collectivel;- insu.red the Collo-,ving rental. properties for the

                     Plaintiffs,`Insureds for the policy period of Jarivan! 5, 2021 — January 55, 2022, from a commercial

                     policy of insurance issued throuoh the Eaaan i.nsurancc ;<?,enc} and I'roducer, CR.0 Group, I

                     Metroplex Drive, Suite 400, Birmingham, AL. 35209:

                          1) El Matador West — 3513 Edenbom Ar,re., h-letairie, LA

                          2) El Matador East — 0612 N. Arnoult, Metairie, LA

                          ~) Prench Village, LLC — 2540 Idalio Ave., iVletairie, LA

                          4) Zlle DOI7.at1, LLC —3201 Ric.hland Ave., \4ctairic. LA

                          6) Super :=1was, LLC — 2901-2913 BaroiLne St., NZetairie, LA

                          6) Robert E Lee (aka "Le Jardin, LLC'~) — 25%14 Robert E Lee, \ew Urteaiis, LA

                          7) Le Jardin, LLC — 254_5 1Vfadrid St., New Orleans, L.A

                          S) Three Rivers (aka "Ye Olde Rivers. I:LC") — 7026=l Charlie St.. Cov ing)tor1. LA

                          9) Abita Gal•dens Apts. — 7051 55 Fuchsia St., Abita Sprin¢,s, LA

                                                                      13.


                             On August 29, ?02 1, HLl]'rtcarle Ida caused severe and substantial willd damaae to saict

                     propertv, includilig, but not lirrlited to, roof damage and dama,e to the inte.rior and exterior of the

                     insured property.

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                                 Plaintiff iziitiated a claim with Defendant Insurers for «-ind damaae sustained at the

                          insured's premises as a result of Hurricane Ida tvliich occurred on or about August 29; 20^ 1.

                                                                           15.

                                 Plaintiff submitted awind claim \vit.h DefeIldant Insurers lor damaaes to the

                          I'laintifG'Insured properties incltiding property damage for Buildin~ Co~~era~Te and busiri::sS l.oss.

                          Defendant Insure.i;s submittecl deficient andr`or untimely payments for BuildinS Coverame and

                          Business Loss.

                                                                           1.6.

                                 Plaintiff submirLed Proofs o:f Loss to the Defcndaiit In.surers seelcing payment of uildisputed

                          damaaes for property damages and Business Loss (i:oss of Rents) on the follovvin~ dates:

                                           -   Januaty 6. 2022

                                           -   February .9, ?022

                                           -   i\~1ay 19, 2022

                                           -   Auaust 9. ?02?

                                           -   >\-1.av 22 2023

                                           -   June 9- 2023

                          Tlie payments tendered by Defendant I.nsurers `vere deficient aiid/or untimely_

                                                                           17.

                                 Defendant Insurers' ~,villful failure to tendet• full and/or undisput:.e( payment for tlie wind

                          damages, business loss, and other covera-es, for Bulldllla C.ovcragc was arbitrary. deaie.ient

                         untimelv, and in bacl faith.

                                                                           ls.

                                 1'laintiffs are entitled to the folloWi_ng damages aga.inst the Defendant Insue-ci•s t'or tLc

                         follo-vvina causes of action:

                                 1.      Failure to timcly pay undisputed damages for Buildim~ Co.-era~e pursuant to LS-\-

                                         R.S. 22:1s92 aiid LSA—I'~.S. 22:1973;

                                 2.      Breach of duty under LSA—R.S. 22:1392 and LS:a—R.S. 22:1973;

                                 3.      Breacll of insurance contracts: and

                                 4.      Other causes of action to be deterrnined at trial.


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                                                                            19.


                                 Plainti£fs, Spanish ViIla, LLC, French Village, LLC, The Dorian LLC, Snper A~vas,

                         LLC, Le Jai-din, LLC, Ye Olde Rivers, LLC, Abita Gardens Apts. are etltitled to the followin`;

                         elements of dan-iages- fi-om Defendants. U nderwrite7-s at Lloyd's, London, Indiari 1-i.arbor

                         Insu.rance Companv, QBD Specialty Insurance Companv, Steadfast Insurance C.onipanv,

                         General Security Indemnify Compaiiv of Arizona, t;nited Specialtv Insurance Companv,

                         LexinQton Insurance Companv, I-IDI Global Specialty Sr, Old Republic Insurance

                         Cornpanv, GeoVera Specialty .Insurance CornpanS-:
                                                                                                                                      ~
                                                                                                                                      w
                                 1.      Payment o~. cost of repairs for Buildin~~ Coverage, I~usiness loss (loss of rents),          ~
                                                                                                                                      C/)
                                         Extra Bxpenses; Ordinance of Lavv, Plants, Lawns, Trees, Slu-ubs, Servic.e

                                         Interrvpt.ion, and other named secondar-;! coverages.

                                 2.      Penalties pursuant to LSA—R.S. ?2:1492 and LS_~—R.S. 22:19 i~;

                                         Double datna~es purstiant to LSA—R.S. 22:19 i 3;

                                 4.      50% penalties for f.ailure to subITtit pavment within thirr; (3O) days froin proof oI'

                                         loss pursuaiit to LSA—R.S. 2?:1492;

                                 5.      Coui-t costs; and

                                 6.      Any relief that this Iionorable Court deems fair and equitable.

                                 WHEREFORE, Plaintiffs, Spanish Villa, LLC, French Village, LLC, T}tc .®ot-ian

                         LLC, Super Awas, LLC, Le Jardin, LLC, Ye. Olde Rivers, LLC, Abita Gardens Apts .. pray

                         that Defendant, Underwriters at Lloyd's, London, Indian Harbor Irisui-ance Company, QI3E

                         Specialty' Insurance Com.pany, Steadfast Insurance Companv, General Security 7ndernnitv

                         Contpany of Arizona, United Specialty Insurance Companv, Lexington Insurance C:otn.panv,

                         I-IDI Global Specialty SE, Old Republic Insurance Companv, GeoVera Specialty Insurance

                         Company, be c.ited to appear and answer this Peliiion for Dcns'iarye.s. and, after all legal delays ciricl

                         due p.roceedings had, there be judgrnent herein in favor of Plainti.(i', Spanish Villa, LLC, F'rench

                         Village, LLC, The Dorian LLC, Su.per A,-vas, Lf,C, Le Jardin. LLC, Ye 01de Rivers, LLC.

                         Abita Gardens Apts and ay~ ainst the Defendants, Undenvriters at Llovd's, London, Indian

                         Harbor I.nsurance Company, QBE Specialtv Insurance Company, Steadfast Insuz-ance

                         Company, General Security Indemni.ty Conipativ of Arizona, United Specialt•ti. Insurance

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            Case 2:23-cv-04258-JTM-MBN Document 1-2 Filed 08/25/23 Page 9 of 42
Case 2:23-cv-04258-JTM-MBN Document 1-2 Filed 08/25/23 Page 10 of 42




GENERAL SECURITY I1DEMNITY C.OMPANY OF ARJZONA
through iLs registered agent for seri-ice ofprocess:
LOUISIANA SECRETARY OI;' STATE
8585 t-\.rchives Avenue
Baton Rouge, Louisi.ana 70809

tiNITED SPECL4LITY INSURANCE CONIPANY
iizrough it.s registereid abent for service of nrocess:
LOUISIC'iNA SLCRE-TARI OF ST.ATE
8585, ArchlveS Avenue
Baton Rou~-,e, Louisiana 70809

LEXINGTON INSUR.ANCE CONIPANY
through its registered a,-
                        ,ent for servlCe Ofprocess:
LOtiISIANA SECRF-'TARY OF STATE
8585 Archives Avenue
Baton RouQe, Louisian.a 70809

HDI GLOBAL SPECIALITY SE
throuch its reoistered aaentfor service qfprocess:
LOUISIANA SF,CRE'I'ARY OF STATE
8585 rlrchives Avenue
Baton Rouge. Louisiai.ia 70809

OLD REPUBLIC UNION INSVRANCE COMPANY
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LOU7SIANA SECRTARY      E        OF STATE
8585 .Vchives Avenue
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GEOVERA SPECIALITY INSUR}S.NCE COi<IPANY
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8585 Archives .Avenue
Baton Rouge, Louisiana 70809




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                         24T" JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                                           STATE OF LOUISIANA


                                                    IN RE: HURRICANE IDA CLAIMS


                    FILED:
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                                 STANDING CASE MANAGEMENT ORDER REGARDING
                          CERTAIN PROPERTY DAMAGES SUITS ARISING FROM HURRICANE IDA

                            On August 29, 2020, Hurricane Ida came ashore near Port Fourchon, Louisiana

                    and traveled through Jefferson Parish. As a Category 4(near 5) hun-icane, it was the fifth

                    strongest storm to ever impact the United States. Hurricane Ida tied the Last Island

                    Hurricane in 1856 and Hurricane Laura in 2020 as the strongest to strike Louisiana, based

                    on wind speed. The President of the United States issued a Declaration of a Major

                    Disaster for the State of Louisiana on August 29, 2021. (See FEMA-4611-DR.) The

                    Declaration expressly includes Jefferson Parish as an "adversely affected area by this

                    major disaster."' Major Hurricane-force winds, with gusts in excess of 155 mph, covered

                    the entirety of Jefferson Parish, and inflicted catastrophic damage throughout this Court's

                    jurisdiction. Hurricane Ida may sometimes hereinafter be referred to as the "Hurricane,"

                    and the causes of action arising therefrom may sometimes be referred to as "the

                    Hurricane Cases."

                            In the aftermath of this catastrophic natural disaster, this Court recognizes that it

                    will soon preside over substantial volumes of insurance cove rag e-rel ated litigation linked

                    to the Hurricane. Additionally, and like so many other courts across the globe, this Court

                    has faced significant challenges to conducting court business for the better part of a year,

                    as a result of the on-going COVID-19 pandemic. The residents and businesses of

                    Louisiana have similarly struggled to cope with the negative economic impact of COVID-

                    19, even before Hurricane Ida.




                    I https://www.fema.gov/disaster-federal-register-notice/4611-dr-la-initial-notice


                                                          Standing Case Management Order
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                                   In the weeks following Hurricane Ida, many related lawsuits will be filed and be

                        pending before this Court. In Act 318 of the 2020 Regular Session the Louisiana

                        Legislature amended the laws expanding judicial authority related to special masters and

                          mandatory mediation in cases stemming from certain major disasters ("Act 318").z

                                   Act 318 authorizes this Court to enter this CMO, and after consultation with and

                        upon the recommendation of the Special Master and in consideration of the high volume

                          of cases from Jefferson Parish in state and federal courts, this Court finds it warranted to

                        enter this CMO to best accommodate the adjudication of Hurricane Cases in this Court.

                                   Accordingly, this Court's aim continues to be the just and expedient resolution of

                        these related matters, in spite of the increased strain on the Court's resources, and with

                        the primary goal of enabling the Jefferson Parish community to move forward with crucial

                        recovery efforts, in the aftermath of Hurricane Ida, and the COVID-19 pandemic. In

                          consideration of these aims and the law, after due consideration of the Case Management

                          Orders and discovery protocols implemented by the 14th Judicial District Court and the

                          U.S. District Court for the Westem District of Louisiana following Hurricanes Laura and

                        Delta, the 24'h Judicial District Court issues the instant Case Management Order, to-wit:

                                    IT IS HEREBY ORDERED that this Case Management Order shall be

                          immediately applicable to all Hurricane Cases.

                                       SECTION 1. DISASTER PROTOCOLS FOR INITIAL DISCOVERY

                                   The Court has reviewed the Disaster Litigation Initial Discovery Disaster Protocols

                        adopted by 14th Judicial District Court and the U.S. District Court for the Western District

                        of Louisiana following Hurricanes Laura and Delta filed in those courts. The Federal Court

                        considered the Disaster Protocols implemented by the U.S. District Court for the Southern

                        District of Texas following Hurricane Harvey. The 14th Judicial District Court considered

                        the Disaster Protocols implemented by the Federal Courts. These Disaster Protocols call

                       for prompt sharing of specific information to promote uniformity, to facilitate prompt

                        evaluation of each case, to foster communication between the parties, and to facilitate an




                        2      See La. R.S_ 13:4165(F).


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                              expeditQd n-rediation procedure. Accordingly, on                         ,:~0,22, this Cour! issued a

                              Standing Order For Dtsaster DISCovery Protocols in Certain Property Danacage Suits

                              Arising from Hr.<rricane Ida ("Disaster Discovery Protoc.ols") t nerefJre ,

`                                       hT tS FURTHER ORDERED that the Disaster Discovery Protocols I:a:tial Discover~

                              Protocols are deemed incorporated into this CMO iri !;X(em's; anc: are appiicat_~le to all

                              Hurricane Cases f:led in this Court. Th:e: disclosures and exchange of information req:.rirect

                              by t.he Disaster Discovery Protocols Order issued on ~                                2Q2-' shall be
                              dve forty-iive (45) days frorn the d"te that defendant files responsive pleadings. This

                              deadline may sortietirnes hereinafter be referred to as fihe "Disclosure Deadiine." No

                              exter3sion or delay in the time to file responsive pleadings shaN extend the DisC•IOsE1re

                              Deadline to rnore than 75 days from the original deadline to file responsive pleadings

                              unless the extension is by the consent of all parties or pzirsuant to an express OrcJer of

                              the Court.

                                        hT IS ≥^URTf•tER tDRDERED tiiat each parhi shall supplement their Initial

                              Disclosure;s at least fifteen ( 1 5) ciays prior to ariy scheduled nnediation pursuant to the

                              Ctv10.

                                        Nothing in this Section prevents other discove:ry in accordance with the provisions

                              of the Code of Civil f`rocedure, except that requests for subpoenas and subpoenas err.rces

                              tecum shall not be submitted during the SSP without pre-approval of the Special Master

                              or €eave of the Ccurt.

                                            SECTIC3N 2. SPECiIIAL MASTER ANt7 APP0lI~!TED NEUTRAtrS

                                        Considering the foregoin; reasons supplied by the Court in the introduction, stpi'a,

                              the Court tinds that exceptional cir'ct.rmstarlces exist which warrant the apnointrtaenfi of
                                                                                                                                 a
                              Special fviaster to assist with the nfficieat and fiair administration o₹ all Hurricane
                                                                                                                           Cases.
                              Pursuant to ihe Court`s inhererit judfcia) power and its authority u-ndir t_a. R.S. 1;i:~15;•,

                              et seq,

                                        IT IiS ;~URTHER ORDEREt3 that JOfVATh-iAN C. P);DERSEN. SLAIR
                                                                                                      C
                              CONSTr4NT and DONAt_D MASSEY, are her-eby appointnd a5 tne Speciul Masters

                              (hereinafter "Special flriaster"j ior Hurriccane Cases in flne 2=?th Judicial District Court.



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                                   As part of this appointment, the Court mandates that the Special Master shall

                          proceed with all reasonable diligence, and shall exercise the respective rights and

                          responsibilities to direct the Streamlined Settlement Process ("SSP") as provided in this

''                        Order.

                                   IT IS HEREBY FURTHER ORDERED that the Appointed Neutrals, referenced in

                          Section 3(B)(2)(a), infra, are hereby appointed and shall proceed with all reasonable

                          diligence and shall exercise their rights and responsibilities under the Streamlined

                          Settlement Process ("SSP") as the Special Master may direct.

                                   A.    The Special Master. The Special Master shall administer, coordinate, and

                                   preside over the SSP. This authority includes the power to order parties and/or

                                   party representatives with full power of settlement to submit briefings, engage in

                                   discovery, and attend settlement conferences. Nothing in this part shall prevent

                                   regular formal discovery or motions to compel to be filed with and heard by the

                                   assigned District Judge.


                                   B.    Compensation of Special Master and Appointed Neutrals. The Special

                                   Master and all other appointed neutrals under the SSP (the "Appointed Neutrals")

                                   shall be compensated in the amount of:

                                         (1)       $400 per hour for the Special Master;

                                         (2)       $400 per hour for the Appointed Neutrals;

                                         (3)       $250 per case for the Special Master for administrative expenses in
                                                   administering, scheduling, organizing, and coordinating the
                                                   Streamlined Settlement Process for each case amongst the parties
                                                   as well as with the Appointed Neutrals and shall be paid by the
                                                   parties at the time their respective initial pleadings are filed; and

                                         (4)       AII actual expenses of the Special Master and Appointed Neutrals,
                                                   including but not limited to travel, meeting rooms and video
                                                   conference means.

                                   Unless otherwise directed by mutual agreement of the parties or as otherwise
                                   directed by the Special Master, all of the above fees and expenses shall be paid
                                   twenty-flve percent (25%) by the plaintiff(s) and seventy-five (75%) by the
                                   defendant(s).




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                               C.      Role of Special Master and Appointed Neutrals

                                       (1)    The Special Master and Appointed Neutrals may communicate ex
                                              parte with the Court when deemed appropriate by the Court, or the
                                              Special Master, without providing notice to the parties, including
                                              communication certifying that the parties have complied with the
                                              requirements of the SSP.

                                       (2)    The Special Master and Appointed Neutrals may initiate contact and
                                              communicate with counsel for any party as he or she deems
                                              appropriate with respect to the efficient administration and
                                              management of the SSP.

                                       (3)    The Special Master and Appointed Neutrals, the parties, and those
                                              assisting the foregoing shall be bound by the confidentiality of the
                                              settlement discussions.

                                       (4)    The Special Master may designate any of the Appointed Neutrals to
                                              act as his deputy from time to time and to perform any duties of the
                                              Special Master.

                               D.      Notice of Opt-Out Motion to the Special Master. Any party to a Hurricane
                                       Case may file a motion with the assigned District Judge requesting an opt
                                       out from the SSP for good cause shown, which motion must be filed within
                                       the time delay contained in Section 3, infra.

                               IT IS FURTHER ORDERED that any party filing an opt out motion shall copy the

                        Special Master, and that the parties shall provide notice of the Court's Order on the motion

                        to opt out to the Special Master, regardless whether the motion to opt out is granted or

                        denied.

                               IT IS FURTHER ORDERED that counsel for any party to a Hurricane Case that

                       has been provided a copy of this Order shall be required to provide email notice to the

                       Special Master of the initial pleadings and all subsequent filings in any Hurricane Case

                        (knowledge of this provision is presumed where counsel for the party has been provided

                       a copy of this Order). The Special Master shall send an Initial Informational Package on

                       the SSP to all parties and/or counsel of record for Hurricane Cases subject to the SSP.




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                                          SECTION 3. STREAMLINED SETTLEMENT PROCESS ("SSP")

                                     Within 30 days of the filing of the defendant's responsive pleading (or within 15

                             days of the transmittal to their counsel of a copy of this Order, including by electronic or

                             other means - whichever is later), either party may file a motion to opt out of this

                             Streamlined Settlement Process ("SSP") for good cause shown. A motion to opt-out of

                             the SSP is not a responsive pleading for any deadline contained in this CMO. Unless the

                              Court authorizes an opt-out, the parties shall participate in the three-stage Streamlined

                             Settlement Process, which is described as follows:

                                     A.    First Stage: Initial Settlement Conference with Special Master. Within
                                           30 days of the Disclosure Deadline in all Hurricane Cases, all parties shall
                                           participate in an informal settlement conference with the Special Master or
                                           his Deputy. In light of the COVID-19 pandemic as well as the desire to
                                           resolve the Hurricane Cases as expeditiously as possible, settlement
                                           conferences should be conducted, where possible, by phone or audiovisual
                                           communication, including but not limited to Zoom, Skype, or similar
                                           platforms. Counsel for each plaintiff and for each defendant must have full
                                           authority from their clients to resolve the case, who shall be readily available
                                           by telephone if circumstances for that particular settlement conference
                                           require assistance.


                                     B.    Second Stage: Mediation. Cases that do not resolve during the initial
                                           settlement conference shall be set for a formal mediation. The Special
                                           Master shall assign each Hurricane Case to an Assigned Neutral from the
                                           court approved list found in Paragraph B(2) of this Subsection, and it is the
                                           goal that Assigned Neutrals complete mediation within 70 days of
                                           appointment. The Special Master (or Appointed Neutral for the case) may
                                           set a scheduling conference, or communicate with counsel about availability
                                           through other means, but shall seek to schedule the mediations in an
                                           expeditious manner at mutually convenient times and dates for all parties.
                                            (1)    Conduct of Mediation.
                                                  (a)    After scheduling of an agreed mediation, counsel for each
                                                         party shall submit confidential statements solely to the
                                                         appointed neutral. The appointed neutral shall determine,
                                                         after conferring with the parties, on the length of the




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                                                confidential mediation statements and           the permissible
                                                number of exhibits attached thereto.
                                          (b)   Plaintiff(s) shall be present in-person aiong with counsel
                                                (subject   to   accommodations approved         by   the   case's
                                                Appointed Neutral). Defense counsel shall also attend in-
                                                person. A representative from defendant(s) is encouraged to
                                                attend, but unless otherwise directed by the Special Master
                                                the defendant(s) representative shall not be required to attend
                                                if counsel for the defendant has full authority to resolve the
                                                case. In addition, a representative of the defendant shall be
                                                readily available by telephone, if circumstances for that
                                                particular mediation require assistance.
                                         (c)    To the extent agreed by the parties and the case's Appointed
                                                Neutral, this mediation conference may be conducted by
                                                phone or other means of electronic audio or video
                                                communication, including but not limited to Zoom, Skype, or
                                                similar platforms.
                                         (d)    As part of this Streamlined Settlement Process, the attendees
                                                may each make opening statements but there shall be no live
                                                witness testimony.
                                  (2)    Approved Neutrals.       The Court hereby initially designates and
                                         appoints the following individuals as "neutrals" (mediators) for the
                                         SSP:
                                         (a)    Any person      designated     by the    Special Master after
                                                consultation with the Court who is qualified pursuant to R.S.
                                                13:4165(F)(5)(6), including:
                                                Hon. Carolyn Gill-Jefferson (ret.) Hon. "Rusty" Knight (ret.)
                                                Hon. Cornelius Regan (ret.)         Hon.Ronald J. Sholes (ret.)
                                                Hon. Franz Ziblich (ret.)           Ashley Bass, Esq.
                                                Jacques Bezou, Esq.                 Robert Raymond, Esq.
                                                Blair C. Constant, Esq.             Bobby M. Harges, Esq.
                                                Michelle Craig, Esq.                Ross Legarde, Esq.                        ~
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                                                Ronald L. Faia, Jr., Esq            Hon. Glenn Ansardi (ret.)
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                                                Joseph Hassinger, Esq.              Stacy Palowsky, Esq.                      LL
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                                                Brigid Collins, Esq.




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                                             (b)    Any person designated as a neutral pursuant to any Case
                                                    Management Order that the U.S. District Court for the Eastern
                                                    District of Louisiana may enter in connection with Hurricane
                                                    Ida cases.
                                      (3)    Neutral Training. The Special Master may undertake to provide
                                             special training to the neutrals, including coordinating participation in
                                             training prepared for the Streamlined Settlement Process. The
                                             Special Master and his Deputy may jointly form a plaintiffs' liaison
                                             comrnittee and a defense liaison committee or may coordinate with
                                             any related Federal Court liaison committees for Hurricane Cases. If
                                             formed, the Special Master or his Deputy may solicit input and
                                             responses concerning commonly occun-ing legal issues that the
                                             liaison committees, from experience, believe may arise in a large
                                             number of these cases, along with relevant case law or other
                                             authority addressing these issues. While the ultimate determination
                                             of any such common issue may well be fact driven, and the outcome
                                             of any legal issue will be determined by the Court, the Special Master
                                             or his Deputy may seek this information in order to educate and fully
                                             prepare the appointed neutrals with the hope of expediting the
                                             settlement process. The Special Master or his Deputy may facilitate
                                             discussions by and among the appointed neutrals to promote, to the
                                             extent possible, consistency in the resolutfon of cases.
                                      (4)    Neutral Reporting. Within 5 days of the mediation date, the Neutral
                                             shall inform the Special Master of the outcome of the mediation.
                                      (5)    Stipulation for Mediation. The Neutral, the Parties and counsel for
                                             the parties must execute the Stipulation for Mediation attached
                                             hereto as Exhibit A.


                                C.    Third Stage: Final Settlement Conference with Special Master. In the
                                      event a case does not settle during the Mediation Phase, the parties shall
                                      participate in a final settlement conference with the Special Master or his                 ~
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                                      Deputy. The Special Master should aspire to conduct this final settlement
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                                      conference within 45 days of receiving notice from the Neutral that a                       O
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                                      particular case did not settle during the mediation phase. To facilitate this               O
                                                                                                                                  ~
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                                      final settlement conference, the Speciai Master or his Deputy may require                   w
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                                      the parties to submit additional mediation statements and set restrictions                  LL
                                                                                                                                  w
                                      upon the number and type of exhibits attached thereto. The Special Master




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                                      or his Deputy may also communicate with the Neutral who conducted the
                                      mediation so as to facilitate a productive final settlement conference. A
                                      scheduling order will not be entered by the Court unless the Special Master
                                      or his Deputy have filed a certificate into the record attesting that all parties
                                      have participated in the final settlement conference with the Special Master
                                       or his Deputy.
                                D.    Extensions of Time. Upon a joint request by the parties, for other good
                                       cause shown, or for case management purposes, the Special Master or his
                                       deputy may extend any deadline specified in this Order by up to 15 days.


                               SECTION 4. COURT APPOINTED UMPIRES REQUIRED UNDER POLICIES

                                If an insurance policy implicated in a Hurricane Case provides for court

                         appointment of a neutral or third appraiser for valuation disputes (hereinafter referred to

                         as an "Umpire"), any request for the appointment by this Court of an Umpire shall only

                         occur if the parties have been unable to agree on their own.

                                A.    Where Parties HAVE been allowed to Opt Out of the SSP. If any party
                                      has been permitted to opt out of the SSP following a timely motion for the
                                      same, any party requesting appointment of an Umpire shall file a motion
                                      requesting same with the case's assigned District Judge, which motion shall
                                      be set for contradictory hearing. Counsel for either or both the Insured and
                                      the Insurer may also submit a joint motion requesting appointment of an
                                      Umpire to the Civil Duty Judge, who may agree to hear the motion during
                                      their respective duty week.

                                B.    Where Parties 0-lave NOT Opted Out of the SSP. In all other cases, any
                                      request for the appointment by the Court of an Umpire shall be made in
                                      writing no later than 14 days following the filing of the defendant's
                                      responsive pleading. Any motion or request for this Court's appointment of
                                      an Umpire shall be submitted to the Special Master in the same manner as
                                      provided for a discovery dispute under the SSP, and the parties shall notify
                                      the Special Master and transmit the Umpire request to the Special Master
                                      via email at jcpedersen@specialmasterservices.com. The deadline may be
                                      extended by the Special Master in exceptional circumstances.

                                C.    Umpire-Only Filing. If a requesting party is seeking court appointment of
                                      an Umpire and no case is otherwise filed or pending before this Court (an
                                      "Umpire Only Filing"), then the parties shall follow the same procedures in



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                             Subsection 4(1). Any such request shall be made in writing no later than 14
                             days following the filing of the defendant's responsive pleading, and any
                             such motion or request for this Court's appointment of an Umpire shall be
                             referred to the Special Master under the above captioned general docket
                             created for the Hurricane Cases. The parties shall notify the Special Master
                             and transmit the Umpire request to the Special Master via email at
                             Lc,oedersen c.specialmasterservices.com. The deadline may be extended
                             by the Special Master in exceptional circumstances.
                             (1)    An Insurer is required to provide written notice of the request to any
                                    known counsel for the Insured (or directly to an unrepresented
                                    Insured). An Insured is required to provide written notice of the
                                    request to any known counsel of Insurer (if any) or alternatively to
                                    the Insurer's primary point of contact on the claim with Insured. The
                                    appraisers previously selected by each party shall also be provided
                                    notice, and their contact information (phone and email address) shall
                                    be provided in the request for appointment of an Umpire.
                             (2)    A written report and recommendation following the Umpire's
                                    appointment shall be issued to the parties, and shall be deemed
                                    applicable to the parties in the same manner as if made by an order
                                    of the Court unless the report and recommendation is overturned by
                                    the assigned District Judge following a motion filed with the assigned
                                    District Judge within seven days of transmittal of the written report.
                             (3)    In an Umpire Only Filing, the Special Master shall provide the report
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                                    and recommendation to the parties, who will in turn provide the same                  a
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                                    to the civil Duty Judge as of the time of the issuance of the report                  a
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                                    and recommendations. Similarly, the recommendation shall be                           a
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                                    deemed applicable to the parties in the same manner as if made by                     co
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                                    an order of the Court unless the report and recomrnendation is                        a
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                                    overturned by the civil Duty Judge following a motion filed with the                  a
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                                    civil Duty Judge within seven days of transmittal of the written report.              LL
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                                    SECTION 5. CLERK OF COURT AND NOTICE                                                  ~
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                       A.    Any Plaintiff filing a Hurricane Case should note on its cover letter to the                 N
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                             Clerk, in all CAPS type and red font (if possible) that the matter is a                      LO
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                             "HURRICANE        CASE."     Each    caption      and   on                                   0
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                             "HURRICANE CASE" in bold print shall follow the docket number. If                            J
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                                                                                                                          w
                             the Special Master learns the Order has not been entered by the Clerk of




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                                                     CoE3rt, he sfiall serve it or• the parties by eniail and iiiay €il:: proof of tl-ie

                                                     sar37r: into tiie record at no cost.

                                    B.               fn all Hurricane Cases, a copy of this Or-der s€-tall be served or-r the
                                                     defendant(s) along uv.ith the Pefiition 7nd Citatian. The Clerk of Court shall
                                                     inc:iude a refertance tiiat the Case fvianager-nent Order is serJed witin the
                                                      Petition in the Citatior• issr.red. The Clerk of Court shali a(so providce, a copy
                                                     to the pidintiff by any authorized nieans.

                                    C-               The Clerk of Court shall transniit via Eniail, at least weekly, t^ thr Sl,ec:al
                                                      Master the docket nurnbers, cc;se caption, and attorney contacl. inf:>rmation
                                                     for arty Hurric:ane Cases filed.

                                    D.               Any par'Lv malking any filing in a Hurricane Case strbject to this Order shall
                                                     serve a craurtesy copy or: the Special il9aster in the same nianner- as
                                                      enroEled counsel via ernail at;c~~eclerser~('cLs~ecr~~;r~rasterser,~ic~s_fc?ra.


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                    tirnes, be subject to the ultimate control anci s:.pervision of the CnUrt. This Cast;

                    Manager7ient Order for 1•Iurricane Cr.ses is sr.rbject to modificat-sora pursuant to further

                    orders o₹ this Cnurl- All provisions of this Or-der shall becorne effective L?(--~Gernber ,l ,2022

                    and slhall 'oe appiic.able to all cases whether thert per:dir:g or- therea:tcr filec?.

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                                      24TH JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                                                   STATE OF LOUISIANA


                                                             lN RE: HURRICANE IDA CLAIMS


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                                     STIPULATION FOR MEDIATION IN STREAMLINED SETTLEMENT PROGRAM

                                        IT IS HEREBY STIPULATED AND AGREED by and between the undersigned
                                parties:
                                     1. The parties have agreed to submit their dispute to mediation pursuant to the SSP,
                                        as specified in the Standing Case Management Order (and any relevant
                                        amendments).


                                     2. No party shall be bound by anything said or done during the mediation, unless
                                        either a written and signed stipulation is executed, or the parties enter into a written
                                        and signed agreement. The appointed neutral may meet in private conference with
                                        less than all parties. Information obtained by the neutral, either in written or oral
                                        form, shall be confidential and, except as provided by Order of the Court, it shall
                                        not be revealed by the neutral unless and until the party who provided that
                                        information agrees to its disclosure.


                                     3. The mediation process shall be considered a settlement negotiation for the
                                        purpose of all federal and state rules protecting disclosures made during such
                                        conferences from later discovery or use in evidence. The entire procedure shall be
                                        confidential, and no stenographic or other record shall be made except to
                                        memorialize a settlement record. AII communications, oral or written, made during
                                        the mediation by any party or a party's agent, employee, or attorney are
                                        confidential and, where appropriate, are to be considered work product and
                                        privileged. Such communications, statements, promises, offers, views and
                                        opinions shall not be subject to any discovery or admissible for any purpose,
                                        including impeachment, in any litigation or other proceeding involving the parties.
                                        Provided, however, that evidence otherwise subject to discovery or admissible is
                                        not excluded from discovery or admission in evidence simply as a result of it having
                                        been used in connection with this mediation process.




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                                   4. The appointed neutral and his or her agents shall have the same immunity as
                                      judges and court employees have under Louisiana law and jurisprudence from
                                      liability for any act or omission in connection with the mediation, and from
                                      compulsory process to testify or produce documents in connection with the
                                      mediation.


                                   5. The parties (i) shall not call or subpoena the appointed neutral as a witness or
                                      expert in any proceeding relating to: the mediation, the subject matter of the
                                      mediation, or any thoughts or impressions which the appointed neutral may have
                                      about the parties in the mediation, and (ii) shall not subpoena any notes,
                                      documents or other material prepared by the appointed neutral in the course of or
                                      in connection with the mediation, and (iii) shall not offer into evidence any
                                      statements, views or opinions of the appointed neutral.


                                   6. Any party to this Stipulation is required to attend at least one mediation session
                                      and as may be directed by the Special Master as many other sessions thereafter
                                      as may be helpful in resolving this dispute.


                                   7. An individual with final authority to settle the matter and to bind the party shall
                                      attend the mediation on behalf of each party.


                                      Dated:



                                      First Plaintiffs Signature                        First Defendant's Signature



                                      Second Plaintiffs Signature                       Second Defendant's Signature



                                      Counsel for Plaintiff                             Counsel for Defendant



                                      Counsel for Plaintiff                             Counsel for Defendant


                                      Appointed Neutral




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                               24T" JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                                              STATE OF LOUISIANA


                                                        IN RE: HURRICANE IDA CLAIMS


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                                STANDING ORDER FOR DISASTER DISCOVERY PROTOCOLS
                           IN CERTAIN PROPERTY DAMAGE SUITS ARISING FROM HURRICANE IDA

                                 This Court hereby issues the following Standing Order establishing protocols

                           for discovery ("Disaster Discovery Protocols") for all cases involving first-party

                           insurance property damage claims arising from Hurricane lda ("Hurricane Cases"),

                                      IT IS ORDERED that within forty-five (45) days after the defendant's

                       submission of a responsive pleading or motion, the parties must exchange any

                           documents or information listed in these Disaster Discovery Protocols, for any such

                       time periods identified in these Disaster Discovery Protocols.

                                IT IS FURTHER ORDERED that ail parties shall remain under an ongoing

                       duty to supplement their responses. No extension or delay in the time to file

                      responsive pleadings shall extend the Disclosure Deadline to more than seventy

                      (75) days from the original deadline to file responsive pleadings unless the

                      extension is by the consent of all parties or pursuant to an express Order of this

                      Court. Nothing in this Section prevents other discovery in accordance with the

                      provisions of the Code of Civil Procedure except the restriction on subpoenas and

                      subpoenas duces tecum articuiated in Section 1 of the Standing Case

                      Management Order Regarding Certain Property Damages Suits Arising From

                      Hun-icane Ida issued onDP-ettL&Y )4 , 2022.




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                               IT IS FURTHER ORDERED that a party may object to disclosure of these

                         Disaster Discovery Materials only if the material is Privileged as that term is defined

                         herein. Any party withholding disclosure of any information or documents, where

                         said disclosure is required pursuant to the Disaster Protocols, shall produce a

                         privilege log to opposing counsel on or before the Disclosure Deadline. This

                         privilege log shall detail all information or documents that it declined to produce on

                         the basis that the material is priviieged. The log should include the author of the

                         document, the recipient of the document, the date of the document, and the nature

                         of the privilege asserted.

                               Any dispute concerning privileged items shall be resolved by contradictory

                         motion before the assigned District Judge. The District Judge may direct that the

                         disputed items be provided to the Court for in camera inspection prior to the

                         hearing of the motion.

                               IT IS FURTHER ORDERED that on belief of a party that good cause exists as

                         to why a particular case should be exempted from the Disaster Protocols, in whole

                       or in part, that party must file their objection with the Court prior to the expiration

                       of the 45-day period set forth herein.

                                                   DISASTER DISCOVERY PROTOCOLS

                       PART 1: INTRODUCTION AND DEFINITIONS.

                               (1)    Statement of purpose.

                                      a.     These Disaster Discovery Protocols apply to cases involving first-
                                             party insurance property damage claims arising from natural
                                             disasters ("Disaster Cases"). The Disaster Protocols are designed to
                                             be implemented by trial judges, lawyers, and litigants in state and
                                             federal courts. The Disaster Protocols make it easier and faster for
                                             the parties and their counsel to: (1) exchange important information
                                             and documents early in the case; (2) frame the issues to be resolved;
                                             (3) value the claims for possible early resolution; and (4) plan for
                                             more efficient and targeted subsequent formal discovery, if needed.
                                      b.     The Disaster Protocols are not intended to preclude or modify any
                                             party's rights to formal discovery as provided by law or other
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                                    applicable rules. Responses to the Disaster Protocols do not waive
                                    or foreclose a party's right to seek additional discovery under the
                                    applicable rules.
                             C.     Except as modified by the Court, these Disaster Discovery Protocols
                                    were prepared by a balanced group of highly experienced attorneys
                                    from across the country with expertise in Disaster Cases. The
                                    Disaster Protocols require parties to exchange information and
                                    documents routinely requested in every disaster case. The
                                    information and documents required to be produced includes
                                    favorable as well as unfavorable information and documents, is
                                    limited to information and documents that are not subject to
                                    objection, and is limited to the information and documents most likely
                                    to be important and useful in facilitating early settlement discussion
                                    and resolving or narrowing the issues.
                      (2)   Definitions. The following definitions apply to these Disaster Discovery
                            Protocols:

                            a.     Claimed /oss. "Claimed Loss" means the loss or damage that the
                                   Insured seeks to recover from the Insurer in the litigation.

                            b.     Document. "Document" and '•documents" are defined to be
                                   synonymous in meaning and equal in scope to the phrase
                                   "documents or electronically stored information" in FRCP 34(a)(I )(A)
                                   or similar state rules. A draft of a document or a nonidentical copy is
                                   a separate document.

                            C.     Event. "Event" means the disaster alleged to have caused the
                                   Insured's Claimed Loss.

                            d.     ldentify (Documents). When referring to documents, to "identify"
                                   means to describe, to the extent known: (i) the type of document; (ii)
                                   the general subject matter; (iii) the date; (iv) the author(s), according
                                   to the document; and (v) the person(s) to whom, according to the
                                   document, the document (or a copy) was to have been sent.
                                   Altematively, to "identify" a document means to produce a copy.

                            e.     ldentify (Natural Persons). When referring to natural persons, to
                                   "identify" means to give the person's: (i) full name; (ii) present or last
                                   known address and telephone number; (iii) email address; (iv)
                                   present or last known place of employment; (v) present or last known
                                   job title; and (vi) relationship, if any, to the parties. Once a person                 ~
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                                   has been identified in accordance with this subparagraph, only the
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                                   name of that person need be listed in response to subsequent                            N
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                                   requests to identify that person.                                                       N
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                            f.     IdenPify (Non-Nafura! Persons or Enfities). When referring to a                         T
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                                   corporate entity, partnership, or other unincorporated association, to                  iLi
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                                   "identify" means to give the: (i) corporate or entity name and, if                      LL
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                                   known, the trade or other names under which it has done business
                                   during the relevant time period; (ii) state of incorporation or
                                   registration; (iii) address of its principal place of business; (iv) primary
                                   phone number; and (v) internet address. Once a corporate or other
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                                          business entity has been identified in accordance with this
                                          subparagraph, only the name of that entity needs to be listed in
                                          response to subsequent requests to identify that entity.

                                   g.     lnsurer. "Insurer" means any person or entity alleged to have
                                          insured the Property that is the subject of the operative complaint,
                                          unless otherwise specified.

                                   h.     lnsured. "insured" means any named individual(s), corporate
                                          entity(ies), partnership(s), or other unincorporated association(s)
                                          alleging property damage as an Insured in the litigation, or asserting
                                          a claim under an assignment.

                                          Loss. "Loss" means damage to the Property caused by the Event.

                                          Other Insurance. "Other Insurance" means any insurance policy,
                                          other than the Policy in force on the date of the Event, that covers or
                                          potentially covers the Property or the Claimed Loss.

                                   k.     Policy. "Policy" means the insurance policy alleged to cover some
                                          or all of Insured's Claimed Loss that is the subject of the Insured's
                                          claim in the litigation.

                                          Privilege. "Privilege" means information and documents that are
                                          protected from disclosure by the attorney-client privilege, or work-
                                          product protection, including any joint defense agreement. privilege
                                          may properly be asserted include communications that reflect the
                                          mental impressions, conclusions, opinions, or theories of an
                                          attorney. Documents routinely prepared in the ordinary course of
                                          business, including but not limited to adjusters' reports, and other
                                          expert analyses, including draft reports, are not privileged and should
                                          be produced.

                                   M.     Property. "Property" means the property (building or contents) that
                                          the Insured claims coverage for under the Policy in the litigation.

                                   n.     Relating to. "Relating to" means concerning, referring, describing,
                                          evidencing, or constituting.


                            (3) Instructions.

                                   a.     The relevanttime period forthis Disaster Discovery begins on the date
                                          immediately before the Event and ends on the date the lawsuit is filed
                                          for the Claimed Loss, unless a different time period is indicated with
                                          respect to a specific production obligation as set out inPart 2 or Part
                                          3 below.
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                                   b.     This Disaster Discovery is presumptively not subject to any                         N

                                          objections except for attorney-client privilege or work-product                     M
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                                          protection, including a joint defense agreement. Documents withheld                 0
                                                                                                                              N
                                          based on a privilege or work-product protection claim are subject to                ~
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                                          expressly making the claim. A detailed privilege log is required as                 r
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                                          specified in this Order or any subsequent Orders of the Court,                      ui
                                          otherwise documents withheld as privileged or work-product                          J
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                                          protected communications may be described briefly by category or                    w
                                          type. Withholding documents on this basis does not alleviate any
                                          obligation to produce the withheld documents or additional
                                          information about them at a later date, if the Court orders or the
                                          applicable rules require production.
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                                C.     If a partial or incomplete or "unknown at this time" answer or
                                       production is given to any disclosure requirement in these Disaster
                                       Discovery Protocols, the responding party must state the reason that
                                       the answer or production is partial, incomplete, or unknown and
                                       when supplemental information or documents providing a complete
                                       response will be produced.

                                d.      For this Disaster Discovery, a party must disclose information and
                                       documents that the disclosing party has in its possession, custody,
                                       or control and that are reasonably available. This Disaster Discovery
                                       is subject to obligations on supplementation and                relevant
                                       requirements concerning certification of responses. This Initial
                                       Discovery does not preclude either party from seeking additional
                                       discovery at a later date.

                                e.     This Disaster Discovery is subject to the attached Interim Protective
                                       Order unless the parties agree or the court orders otherwise. The
                                       Interim Protective Order will remain in place until and unless the
                                       parties agree on, or the court orders, a different protective order.
                                       Absent party agreement or court order, the Interim Protective Order
                                       does not apply to subsequent discovery.

                                       Within 14 days after the filing of a responsive pleading by the
                                       responding party, the Parties shall meetand confer on the format
                                       (e.g., searchable PDF, Excel spreadsheet) for the production of
                                       documents under these Disaster Protocols. Thiswill not delay the
                                       timeframes for Initial Discovery, absent court order. Nor will
                                       production in one format preclude requesting production in another
                                       format, if applicable rules of discovery allow.

                     PART 2: INFORMATION AND DOCUMENTS TO BE PRODUCED BY THE INSURED

                         (1)    Timing.

                                Unless the Court orders otherwise, the Insured's Initial Discovery responses
                                must be provided within 45 days after the Insurer has submitted a
                                responsive pleading or motion (its first filing in this Court.)

                         (2)    Information to be produced by the Insured:

                                a.     A description of the Insured's ownership or other interest in the
                                       Property.

                                b.     The address of the Property (or location of movable Property) on the
                                       date of the Event.

                                C.     The name of each Insurer and all policy numbers for each Policy or
                                       Other Insurance held by or potentially benefitting the Insured or the
                                       Property on the date of the loss, including relevant policy and claim
                                       numbers for any claims.

                                d.     Identify any current mortgagee or other known lien holder.

                                e.     A computation of each item or type of Claimed Loss, including
                                       contents claims if in dispute. When the Policy requires, the
                                       computation should reasonably identify or itemize price and quantity
                                       of materials.

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                                    f.     Identify any payments received under the Policy relating to the Event.
                                           Identify the source and amount of any payments received after the
                                           Event from Other Insurance, or any other source, for all or any part
                                           of the Loss.

                                    g.      Identify any grant or other similar program that the Insured applied
                                           for after the Event, including a Small Business Administration loan,
                                           seeking payment for all or any part of the Loss.

                                           Identify the public or other adjusters, estimators, inspectors,
                                           contractors, engineers, or other persons engaged by or on behalf of
                                           the Insured relating to the Claimed Loss.

                                           With respect to any Other Insurance, all policy numbers, the name of
                                           each insurer, and claim and docket numbers for any claims madefor
                                           coverage by the Insured on the same Property at issue in this
                                           litigation.

                                           Identify the source and amount of any payments received after the
                                           Event from Other Insurance, or any other source, for all or any part
                                           of the Loss.

                                    k.     A general description, including the court and docket number, of any
                                           other lawsuits arising from the Event relating to the Property.

                                           A general description of any known preexisting damage to the
                                           Property relating to the Claimed Loss.

                                    M.     A general description of any claims for property damage or lawsuits
                                           resulting from property damage in the past ten years relating to the
                                           Property.

                                           Identify any sale, transfer, or foreclosure of the Property after the
                                           Event.

                              (3)   Complete and unaltered copies of the following documents to be produced
                                    by the lnsured:

                                    a.     Documents relating to the Claimed Loss, including: loss estimates;
                                           adjuster's reports; engineering reports; contractors reports;
                                           estimates, bids, plans, or specifications regarding repair work
                                           (whether planned, in progress, or completed); photographs; videos;
                                           or other materials relating to the Claimed Loss, along with any
                                           receipts, invoices, and other records of actual costs to repair or
                                           replace the Claimed Loss. This shall include all reports or analyses,
                                           including draft reports, prepared on behalf of Insured.
                                                                                                                                ~
                                    b.     Proofs of loss for the Claimed Loss.                                                 ~
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                                    C.     Documents relied on by the Insured in generating any proof of loss                   N
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                                           required or provided under the Policy.                                               N
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                                    d.     Written communications exchanged between the Insured and                             0
                                           Insurer that refer or relate to Insured' s Claimed Loss, the Property,               w
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                                           or damages, or otherwise relating to the Insured' s claim.                           u,
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                                    e.     Photographs and videos of the Property taken for the purpose of
                                           documenting the condition of the Property, including photographs
                                           and videos of the Loss.
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                                    f.      Written communications, photographs, or estimates of damages
                                            sought from or paid by any other insurer related to the Event.

                                    g.      The insurance policy with respect to any Other Insurance, and the
                                            claim numbers for claims made to recover Loss to the Property
                                            relating to the Event.

                                    h.      Appraisals or surveys of the Property condition within five years
                                            before, or any time after, the Event.

                                            If there has been an appraisal under the Policy, documents relating
                                            to the appraisal process.

                                            Any other document(s) on which the Insured relies to support the
                                            Claimed Loss.

                          PART 3: INFORMATION AND DOCUMENTS TO BE PRODUCED BY THE INSURER.

                              (1)   Timing.

                                    Unless the court orders otherwise, the Insurer's Initial Discovery responses
                                    must be provided within 45 days after the Insurer has submitted a
                                    responsive pleading or motion (its first filing in this Court in response or
                                    answer to the plaintiffs claim). The disclosures related to Insurers and the
                                    use of the term "Insurer" under this Part shall extend to anyone acting for or
                                    on behalf of the Insurer in relation to the claim of the Insured, including the
                                    employees, contractors, and agents of either the Insurer or anyone
                                    providing services to the Insurer related to the Insured's claim or Claimed
                                    Loss.

                              (2)   lnformation to be produced by the Insurer:

                                    a.     If there is a dispute over coverage, in whole or in part, an
                                           explanation of the Insurer's reason for the denial of coverage,
                                           including:
                                                  i.      Any exclusions or exceptions, or other coverage or
                                                          legal defenses;
                                                   ii.    The factual basis for any exclusion, limitation,
                                                          exception, or condition-based dispute or defense;
                                                   iii.   Whether there is also a dispute as to the value or
                                                          amount of the Claimed Loss;
                                                   iv.    Any other basis on which coverage was denied.

                                    b.     If there is a dispute over all or part of the va(uation, an
                                           explanation of the Insurer's basis for disputing the value or amount
                                           of the Claimed Loss, including:
                                                  i.    The Insurer's understanding of the nature of the
                                                        dispute;
                                                  ii.   The amount the Insurer disputes and the basis for that
                                                        dispute, including any applicable Policy provisions that
                                                        the Insurer alleges or believes are relevant to the
                                                          dispute; and
                                                  iii.    The amount the Insurer agrees to pay, if any, with
                                                          respect to any undisputed part of the Claimed Loss.

                                           Any Policy terms or conditions that the Insurer alleges the Insured
                                           failed to comply with, including conditions precedent or other terms.


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                                    d.    Any payments previously made under the Policy relating to the
                                          Event.

                                    e.    A general description of any other basis for nonpayment of the
                                          Claimed Loss, in whole or in part.

                                          Any other Event-related lawsuits filed for the Property or the lnsured.

                                    g.    Identify the adjuster(s) who handled the claim.

                                    h.    Identify the individual(s) who evaluated, recommended, made,
                                          approved, or rejected the claims decision.

                                          Identify the field personnel, estimators, inspectors, contractors,
                                          engineers, or other persons who participated in any investigation of
                                          the ciaims or the claims process, had any part relating to Insurer's
                                          evaluation process for the claims, or upon who the Insurer relied
                                          upon or received information from concerning Insurer's evaluation
                                          process or claim decision; and identify anyone who had any role in
                                          drafting, editing, reviewirig, or approving any report(s), evaluation(s),
                                          or inspection(s) on behalf of Insurer involving the Insured's claim.

                                    j.    If preexisting damage is at issue in the litigation, a general
                                          description of any prior claims in the past ten years for the Property.

                              (4)   Complete and unaltered copies of the following documents to be produced
                                    by the Insurer:

                                    a.    The entire claim file maintained by the Insurer.

                                    b.    The complete Policy in effect at the time of the Event.

                                    C.    Assessments of the Claimed Loss, including: loss reports, expert
                                          reports that contain any description or analysis of the scope of loss
                                          or any defenses under the Policy, damage assessments, adjuster's
                                          reports, engineering reports, contractor's reports, and estimates of
                                          repair or replacement. This shall include all reports or analyses,
                                          including all drafts, prepared as part of the evaluation or claims
                                          process involving Insured's claim by Insurer, or documents or
                                          records reviewed in any way in connection with Insurer's handling of
                                          the claim.

                                    d.    Photographs and videos of the Property taken for the purpose of
                                          documenting the condition of the Property, including photographs
                                          and videos of the Claimed Loss.

                                    e.    Any other evaluations of the Claimed Loss.

                                    f.    Documents containing recordings, transcripts, or notes of
                                          statements, conversations, or communications by or between the
                                          Insurer and the Insured relating to the Event.

                                    g.    Any claim log, journal, diary, or record maintained by the Insurer
                                          relating to the Claimed Loss. This includes all written records, written
                                          communications, records of oral communications, reports, audits, or
                                          other records, including any documents, envelopes, logs or other
                                          documents evidencing when Insurer came into possession of any
                                          such records, regarding any aspect of the Insured's claim or that are
                                          in any way relating to the Insurer's investigation into the Claimed
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                                                            Loss, Inst.rrer's processing of Insured's claini (including ad;ustnient,
                                                            evaluation, and handling), or Insurer's ciaim decision_

                                                     h.     The cor:-2plete underwriting file ;naintained by the Insurer relating tc:
                                                            the Property, its conditions, or coverage.

                                                            Pr'ooFs of loss for the Clairned Loss.

                                                     j.     lf there has been an appraisal uncier the Policy, all documer:ts
                                                            rela'ting to the anpraisal process.

                                                     k.     Any niatnuals, policies, directives, guidelines, instruc.₹ions (whcther
                                                            written, electronic, or other-wlSE), literature, or simii.ar written
                                                            materials that would pertain to the Claimed Loss, Hurricane or lo
                                                            simiiar types of clain-is, generally suci-i that they l,vould therefore iae.
                                                            applicable to the 1-itirricane Case itnr_.luditncl the Insured's claim. This
                                                            includes any doctiment that Insurer r-elieci upor:, or intends to rei;-
                                                            uport, pertaining to industry guidelines, standard practices, or
                                                            recon-imenc₹ed practices for adjusting frst party cl,.ims.

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                                                            the insured and Insurerthat refer- or relate to fnsured's Claim::d Loss,
                                                            Property, or damages, or otherwise relatir•g to tl-ie inst.ire:i'ti claim.

                                                     M.     Any other document(s) on which the lnsurer relies to support its
                                                            defenses.                ...~
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                                 24T" JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                                                  STATE OF LOUISIANA


                                                           IN RE: HURRICANE IDA CLAIMS




                                  The Disaster Discovery Protocols for First-Party Insurance Property Damage

                        Cases for all cases involving first-party insurance property damage claims arising from

                        Hurricane Ida ("Hun-icane Cases") are designed to achieve more efficient and targeted

                        discovery. Prompt entry of a protective order will allow the parties to begin exchanging

                        documents and information without delay. This Interim Protective Order will remain in

                        place until the parties agree to, or the Court orders, a different protective order, but absent

                        agreement or court order, the Interim Protective Order will not apply to discovery

                        conducted after the parties complete the Streamlined Settlement Program. The parties

                        may agree to use the Interim Protective Order throughout litigation.


                                  IT IS HEREBY ORDERED that the following restrictions and procedures apply to

                        certain information, documents, and excerpts from documents and information the parties

                        exchange in response to the Disaster Discovery Protocols:


                                  1.        Any party may designate as "ConfidentiaP" any document, or information
                                            contained in or revealed in a document, provided in response to these
                                            Protocols or, if applicable, in subsequent discovery, if the party determines,
                                            in good faith, that the designation is necessary to protect the party.
                                            Information and documents a party designates as confidential will be
                                            stamped "CONFIDENTIAL." Confidential information or documents are
                                            referred to collectively as "Confidential Information."

                                  2.        Unless the court orders otherwise, the Confidential Information disclosed
                                            will be held and may be used by any person receiving the information solely
                                            in this litigation.




                                                    Interim Protective Order for Disaster Discovery Protocols
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                               3.    If a party challenges another party's Confidential Information designation,
                                     counsel must make a good-faith effort to resolve the dispute. If that is
                                     unsuccessful, the challenging party may seek resolution by the Court.
                                     Nothing in this Interim Protective Order is an admission by any party that
                                     Confidential Information disclosed in this case is relevant or admissible.
                                     Each party specifically reserves the right to object to the use or admissibility
                                     of all Confidential Information disclosed, in accordance with applicable law
                                     and court rules.

                               4.    Information or documents designated as "Confidential" must not be
                                     disclosed to any person, except:

                                         a. the requesting party and counsel, including in-house or agency
                                            counsel;

                                         b. employees of counsel assigned to and necessary to assist in the
                                            litigation;

                                         c. consultants or experts assisting in the prosecution or defense of the
                                            litigation, to the extent deemed necessary by counsel;

                                         d. any person from whom testimony is taken or is to be taken in this
                                            litigation, but that person may be shown the Confidential Information
                                            only in preparation for, and during, the testimony and may not retain
                                            the Confidential Information;

                                         e. The judge, the court staff, including the clerk, case manager, court
                                            reporter, or other person with access to Confidential Information by
                                            virtue of his or her position with the court, or the jury; and

                                         f. The Special Master, Deputy Special Master, and any mediator
                                            involved in resolving the case, who shall all be subject to these
                                            confidentiality provisions.

                               5.    Before disclosing or displaying Confidential Information to any person, a
                                     party must:

                                        a. inform the person of the confidential nature of the information and
                                            documents; and

                                        b. inform the person that the court has enjoined the use of the
                                            information or documents for any purpose other than this litigation
                                            and has enjoined the disclosure of that information or documents to
                                            any other person.


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                             6.    The Confidential Information may be displayed to and discussed with the
                                   persons identified in Paragraphs 4(c) and (d) only on the condition that
                                   before any such display or discussion, each person must be asked to sign
                                   an agreement to be bound by this Order in the form detailed in Section 6(a),
                                   infra.

                                   6(a). The Confidentiality Agreement shall read as follows:

                                            l have been informed by counsel that certain documents or
                                            information to be disclosed to me in connection with the matter
                                            entitled [CASE CAPTION] have been designated as
                                            confidential. I have been informed that any of the documents
                                            or information labeled "CONFIDENTIAL" are confidential by
                                            Order of the Court.
                                            I hereby agree that I will not disclose any information
                                            contained in the documents to any other person. I further
                                            agree not to use this information for any purpose other than
                                            this litigation.
                                                                               DATED:
                                            Signature of [NAME]


                                                                              DATED:
                                            Signature of Counsel


                                   6(b). If the person refuses to sign an agreement in the form attached, the
                                            party seeking to disclose the Confidential Information may seek relief
                                            from the court.

                             7.    The disclosure of a document or information without designating it as
                                   "Conffdential Information" does not waive the right to designate the
                                   document or information as Confidential Information if the document or
                                   information is designated under this Order.

                             8.    Documents or information filed with the court that is subject to confidential
                                   treatment under this Order, and any pleadings, motions, or other papers
                                   filed with the court disclosing any Confidential Information, must be filed
                                   under seal to the extent permitted by the law, rules, or court orders, and
                                   must be kept under seal until the court orders otherwise. To the extent the
                                   court requires any further act by the parties as a precondition to filing the
                                   documents or information under seal, the party filing the document or
                                   information is responsible for satisfying the requirements. lf possible, only
                                   the confidential parts of documents of information filed with the court will be
                                   filed under seal.



                                            Interim Protective Order for Disaster Discovery Protocols
                                                             Hurricane Ida Litigation
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                                     J.                At t.he conclusion of this litigation, the Confidential (nformation ancl any
                                                       copies must be pt'omp(ly ;ar;d in no evenl later then 6G duys efte.r entry of
                                                       final judgnient no loriger su(3ject to appea() returnc-:d to                                                                          producing party
                                                       or certified as destroyed, except th@t the parties' counsei may retain thcir
                                                       wlorking -fEles ori the condition that those files will remairt confidentief.
                                                       Materials file;d in the court wi(l rernain in the file unless the court orders tl-ieir
                                                       return.

                                     10.               Producing docur:ients or infor•mation, incl!,rding Conficlential Information, in

                                                       ihis litigation does not vvaive attorney-client p;'ivilege or worl-:-p:oduct
                                                       protection for the docijments or information.

                                     •T'his Order doPs not clirninish the right of any party to apply to the il'ourt tor- a

                      different or additional Protective Order relating to Confidential Inforrrtatiori, to ohject f.o the

                      production of docunients or infor'mation, to apply to the court for an o -der compelling

                      production of docurnetits or :nformation, oi• to rrtodify th;is Ordc=r. Any pa rLy tney se.ek

                      enforcement oi this Order.

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                                   24T" JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                                                    STATE OF LOUISIANA


                                                             IN RE: HURRICANE IDA CLAIMS


                        F1LED:
                                                                                                         DEPUTY CLERK

                                      STANDING CASE MANAGEMENT ORDER REGARDING
                               CERTAIN PROPERTY DAMAGES SU1TS ARISING FROM HURRICANE IDA,
                                          EXHIBIT A: LIST OF APPOINTED NEUTRALS

                                        IT IS HEREBY ORDERED that the following individuals shall supplement and

                        comprise the Appointed Neutrals referenced in the Standing Case Management Order,

                        Section 3(B)(2)(a), infra, and are hereby appointed and shall proceed with all reasonable

                        diligence and shalf exercise their rights and responsibilities under the Streamlined

                        Settiement Process {"SSP") as the Special Master may direct.

                                              (2)      Approved Neutrals. The Court hereby designates and appoints the
                                                    following individuals as "neutrals" (mediators) for the SSP:
                                                       (a)     Any person designated by the Special Master after
                                                               consultation with the Court who is qualified pursuant to R.S.
                                                               13:4165(F)(5)(6), Including:
                                                               Hon. Carolyn Gill-Jefferson (ret.) Hon. °Rusty" Knight (ret.)
                                                               Hon. Cornelius Regan (ret.)               Hon.Ronald J. Sholes (ret.)
                                                               Hon. Franz Zibilich (ret.)                Ashley Bass, Esq.
                                                               Jacques Bezou, Esq.                       Hon. Glenn Ansardi (ret.)
                                                               Blair C. Constant, Esq.                   Robert Raymond, Esq.
                                                               Michelle Craig, Esq.                      Bobby M. Harges, Esq.
                                                               Fred Herman, Esq.                         Ross Legarde, Esq.
                                                               Donald Massey, Esq.                       Jonathan Pedersen, Esq.
                                                               Roger A. Javier, Esq.                     Chadwick J. Mollere, Esq
                                                               Ronald L. Faia, Jr., Esq.                 Brian Reuter, Esq.
                                                               Joseph Hassinger, Esq.                    Brigid Collins, Esq.
                                                               Stacy Palowsky, Esq.                      Charies Cusimano, IV, Esq.
                                                               Christy Remy, Esq,                        Harold Adkins, Esq.
                                                               David Bienvenu, Esq.                      Mark Tauzier, Esq.
                                                               Jack Morris, Esq.                         Lacy Smith, Esq.
                                                               Dustin Carter, Esq.                       Eric (Vowak, Esq.



            <~r     ~                                             Standing Case Management Order
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                  • f,~;._                           Hurricane Ida Lltigation, Exhibit A: Llst of Appointed Neutrais
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